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1

2    Michael Fuller, OSB No. 09357
     OlsenDaines
3
     US Bancorp Tower
4    111 SW 5th Ave., Suite 3150
     Portland, Oregon 97204
5    michael@underdoglawyer.com
6    Direct 503-222-2000

7    Kim Sordyl, OSB No. 031610
     Sordyl Law LLC
8
     422 NW 13th Ave # 751
9    Portland, Oregon 97209
     503-502-1974
10

11   Emily Templeton
     Court Certified Law Clerk
12   OlsenDaines
13
     Attorneys for Plaintiff
14

15
                           UNITED STATES DISTRICT COURT
16
                                     DISTRICT OF OREGON
17

18                                   PORTLAND DIVISION

19

20
                                                Case No. 3:21-cv-311
21   A.B.
                                                SEXUAL ASSAULT
22                       Plaintiff              COMPLAINT
23
                   vs                           28 U.S.C. § 1332
24
     DR. JASON CAMPBELL                         Demand for Jury Trial
25
     and OREGON HEALTH &
26   SCIENCE UNIVERSITY
27
                         Defendants
28




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1

2                                               1.
3
                          JURISDICTION AND THE PARTIES
4
           This Court has jurisdiction under 28 U.S.C. § 1332 because plaintiff and Dr.
5

6    Campbell are citizens of different states and the amount in controversy requirement

7    is met.
8
                                                2.
9
           Plaintiff is a citizen of Oregon. Dr. Campbell is a citizen of Florida.
10

11                                              3.

12         Defendant Oregon Health & Science University (OHSU) is a public Oregon
13
     university located in Portland, Oregon. During the time periods at issue, OHSU
14
     employed the individuals involved in this case below.
15

16                                              4.
17
           Dr. Campbell, OHSU Resident, aka the Tik Toc Doc.
18
                                                5.
19

20
           Dr. Esther Choo, OHSU Professor of Emergency Medicine.

21                                              6.
22
           Dr. Lalena Yarris, OHSU Emergency Medicine Residency Program Director.
23
                                                7.
24

25         Dr. Michael Aziz, OHSU Professor of Anesthesiology.

26                                              8.
27
           Dr. Sharon Anderson, OHSU Executive Vice President.
28




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1

2                                          9.
3
          Dr. Stephen Robinson, OHSU Interim Chair, Department of Anesthesiology.
4
                                           10.
5

6         Dr. Oscar John Ma, OHSU Chair, Emergency Medicine.

7                                          11.
8
          Dr. Emily Baird, OHSU Professor of Anesthesiology and Program Director.
9
                                           12.
10

11        Dr. Michael Bonazzola, OHSU Chief Medical Officer, Practice Plan.

12                                         13.
13
          Ms. Linda Strahm, OHSU Director, School of Medicine Human Resources.
14
                                           14.
15

16        Ms. Laura Stadum, OHSU Title IX Coordinator.
17
                                           15.
18
          Mr. Dan Forbes, OHSU Vice President, Human Resources, aka Peter
19

20
     Pumpkin Eater.

21                                         16.
22
          Mr. David Robinson, PhD, OHSU Executive Vice Provost.
23
                                           17.
24

25        Mr. Greg Moawad, OHSU Interim Vice President of Human Resources.

26                                         18.
27
          Mr. Patrick Frengle, OHSU employee, aka Aanus McFadden, Roy Vragina.
28




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1

2                                               19.
3
                                 FACTUAL ALLEGATIONS
4
           This complaint’s allegations are based on personal knowledge as to plaintiff’s
5

6    behavior, and made on information and belief as to the behavior of others.

7                                               20.
8
           During the time periods at issue, plaintiff was an employee at the Veterans
9
     Affairs Medical Center (the “VA Hospital”) in Portland, Oregon. Plaintiff requests to
10

11   proceed in this case under a pseudonym because she faced retaliation and vandalism

12   after reporting Dr. Campbell’s assault to OHSU. Mr. Paul Carlson is a Police
13
     Detective at the VA Hospital who investigated plaintiff’s allegations of assault
14
     against Dr. Campbell.
15

16                                              21.
17
           OHSU is a public teaching hospital which primarily operates in Portland,
18
     Oregon. In Dr. Campbell’s position as a resident and employee at OHSU, Dr.
19

20
     Campbell sometimes worked at the VA Hospital and had a pass to access the

21   premises of the VA Hospital where plaintiff worked. The VA Hospital is located next
22
     to OHSU on Marquam Hill, connected by a sky bridge. Dr. Campbell is a male,
23
     approximately thirty-one years old, standing six-feet, two-inches tall, and is a former
24

25   collegiate student-athlete with an athletic build. Plaintiff is a female standing just

26   under five feet tall with a slim build.
27

28




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1

2                                                 22.
3
            Beginning in January of 2020, while acting in the scope and course of his
4
     capacity as a resident and employee of OHSU, Dr. Campbell began harassing
5

6    plaintiff via text messages, pornographic photos, and sexually-charged social media

7    messages. For instance, on January 24, 2020, Dr. Campbell sent plaintiff a picture
8
     of his erection. On January 24, 2020, Dr. Campbell sent plaintiff a video message on
9
     Instagram that said “you look tasty.” On January 28, 2020, Dr. Campbell sent
10

11   plaintiff a text that said in part “I’m fit, you’re fit, there’s the orgasm.”

12

13

14

15

16

17

18

19

20
                                                  23.

21           On March 12, 2020, at the VA Hospital, while acting in the scope and course
22
     of his capacity as a resident and employee of OHSU, Dr. Campbell was working in
23
     scrubs for OHSU, and while he had a girlfriend, Dr. Campbell attempted to and did
24

25   in fact cause harmful offensive contact with plaintiff, causing plaintiff severe,

26   substantial, enduring emotional distress, discomfort, and interference with usual life
27
     activities.
28




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1

2                                               24.
3
           Specifically, Dr. Campbell went into plaintiff’s office area, snuck up quietly
4
     behind plaintiff and without plaintiff’s express or implied consent, pushed his body
5

6    and his erection forcibly onto plaintiff’s backside, pushing her into the desk in front

7    of her. Plaintiff was terrified and yelled at Dr. Campbell to leave. Plaintiff followed
8
     up with a written message, “Don’t EVER surprise me by getting in my physical
9
     space.” Dr. Campbell messaged, “I should’ve asked. I’m sorry.”
10

11

12

13

14

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1

2                                             25.
3
           Even after plaintiff told Dr. Campbell not to get in her personal space again,
4
     Dr. Campbell messaged her the following day on March 13, 2020, “I’m feeling lucky
5

6    about another hug today from my fave ED star,” and “Are you home or still here? I’ll

7    get my hug anywhere,” and “I just want to hug you from behind without you yelling
8
     at me.” Dr. Campbell later attempted to invite himself to plaintiff’s home to bring
9
     her soup or tea.
10

11                                            26.

12         On April 9, 2020, plaintiff reported details of Dr. Campbell’s sexual
13
     harassment and assault to her supervisors, and also provided screenshots of the
14
     sexual messages Dr. Campbell had sent to her. On that same day, the VA Hospital
15

16   informed Dr. Campbell and his supervisor of plaintiff’s complaint of misconduct.
17
                                              27.
18
           On April 17, 2020, plaintiff informed two OHSU Public Safety officers that
19

20
     they would be contacted by the VA police because she had been harassed by Dr.

21   Campbell.
22
                                              28.
23
           According to OHSU, in late March or early April 2020, Dr. Campbell reported
24

25   to Dr. Emily Baird, a Professor of Anesthesiology and Perioperative Medicine and

26   Program Director of Resident Education, that the VA Hospital human resources
27
     team had contacted him about an incident, and that he had “fallen into a woman” at
28
     the VA Hospital and was under investigation for it.



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1

2                                               29.
3
           Dr. Baird later stated that she found this “fishy.” Dr. Baird is a mandatory
4
     reporter. On information and belief, Dr. Baird took no action on Dr. Campbell’s
5

6    confession.

7                                               30.
8
           On April 17, 2020, plaintiff made a detailed report, in writing, of Dr.
9
     Campbell’s sexual harassment and assault to OHSU’s Title IX coordinator, Ms.
10

11   Laura Stadum, and to VA Hospital Police Detective, Mr. Carlson. Dr. Campbell

12   refused to be interviewed by Detective Carlson.
13
                                                31.
14
           On April 23, 2020, plaintiff had a phone meeting with Ms. Stadum and
15

16   Detective Carlson about steps moving forward in working with the Affirmative
17
     Action and Equal Opportunity (AAEO) department. Ms. Stadum informed plaintiff
18
     that she had very recently informed Dr. Campbell of plaintiff’s allegations of
19

20
     misconduct, and that Dr. Campbell said, “This is the first I’m hearing of it.” Plaintiff

21   informed Ms. Stadum that Dr. Campbell and his supervisor had already been
22
     notified by VA personnel on April 9, 2020.
23
                                                32.
24

25         On or about April 9, 2020, plaintiff reported Mr. Campbell’s sexual assault to

26   an OHSU Assistant Professor. The Assistant Professor informed plaintiff that this
27
     was the second time that a woman reported to them that Dr. Campbell had engaged
28
     in a sexual assault.



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1

2                                               33.
3
             The other alleged victim was an OHSU student and employee, and had come
4
     to the Assistant Professor crying over the assault. According to the Assistant
5

6    Professor, Dr. Campbell assaulted the employee in a similar manner. The Assistant

7    Professor is a mandatory reporter. According to OHSU, the Assistant Professor did
8
     not report Dr. Campbell’s alleged misconduct.
9
                                                34.
10

11           OHSU’s ongoing violations of the mandatory reporting rules paved the way

12   for plaintiff to be sexually harassed and assaulted by Dr. Campbell the following
13
     year.
14
                                                35.
15

16           On or about April 9, 2020, plaintiff contacted the alleged prior victim of Dr.
17
     Campbell and requested the details of Dr. Campbell’s alleged misconduct. The victim
18
     told plaintiff that over one year prior, Dr. Campbell asked the alleged victim to “jerk
19

20
     him off.” The alleged victim refused and “got up to leave, and was putting my shoes

21   on and he pushed me against the door and grabbed my hand and put it on him and
22
     he said ‘don’t you like my thick cock?’” The alleged victim also stated that she was
23
     afraid of Dr. Campbell, and afraid of making him angry.
24

25

26

27

28




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1

2                                                36.
3
           In April of 2020, OHSU opened an investigation into plaintiff’s complaint.
4
     After the investigation started, the prior alleged victim of Dr. Campbell informed
5

6    plaintiff that Dr. Michael Aziz, an OHSU employee and Professor of Anesthesiology,

7    began coming into the alleged victim’s workspace to hover and stare at her. The
8
     alleged victim said this also made her fearful. Retaliation for reporting sexual
9
     assault is a violation of Title IX policy and law.
10

11                                               37.

12         Both plaintiff and Dr. Campbell were subject to OHSU’s investigation.
13
     Plaintiff provided OHSU with evidence and witnesses. According to OHSU
14
     investigators, Dr. Campbell claimed to have destroyed his electronic messages.
15

16                                               38.
17
           On August 17, 2020, OHSU issued its investigative findings. OHSU concluded
18
     that defendant Dr. Campbell had violated its policies and code of conduct by
19

20
     repeatedly sending electronic messages of a sexual nature to plaintiff, including and

21   not limited to a picture of his erection through scrub pants, despite multiple
22
     warnings from plaintiff that she was not interested in any sort of romantic or sexual
23
     relationship; and approaching plaintiff from behind in her office at the VA Medical
24

25   Center and pressing his front side against her backside without express or implied

26   consent. OHSU did not address any violations of law or civil liability.
27

28




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1

2                                             39.
3
           In November of 2020, after reporting to OHSU that Dr. Campbell had
4
     assaulted her, plaintiff’s car was vandalized with spray paint at her home. On
5

6    November 9, 2020, plaintiff notified the Portland Police. The investigation is

7    ongoing.
8
                                              40.
9
           During the time periods at issue, attorney Mr. Moawad served as OHSU’s
10

11   Interim Vice President of Human Resources, AAEO, and Title IX Compliance.

12                                            41.
13
           Despite OHSU having an attorney, Mr. Moawad, in charge of its Title IX
14
     compliance, OHSU was out of compliance until 2016 in that OHSU did not have a
15

16   designated Title IX coordinator to handle and track complaints of sexual misconduct.
17
                                              42.
18
           In 2016, OHSU added “Title IX coordinator” to Ms. Stadum’s title. Ms. Stadum
19

20
     was already serving as OHSU’s AAEO Director. Ms. Stadum reports directly to Mr.

21   Moawad. In August of 2019, OHSU’s Vice President of Human Resources, Dan
22
     Forbes was caught trolling a union on Twitter under the name “Peter Pumpkin
23
     Eater.” Forbes, had been “liking” the misinformation posted by OHSU employee
24

25   Patrick Frengle, an OHSU manager, who posted under the names “Aanus

26   McFadden” and “Roy Vragina.” Forbes was permitted to remain at OHSU until
27
     November of 2019 in order to transition HR duties to Greg Moawad.
28




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1

2                                                 43.
3
                          Sexual Misconduct is Buried at OHSU
4
           OHSU’s environment is one in which sexual misconduct is permitted. OHSU’s
5

6    leaders, who are mandatory reporters, do not report sexual misconduct. Rather, they

7    negligently and actively allow and tolerate it. Perpetrators of alleged sexual
8
     misconduct are     praised,     protected,   and   even   glorified.    Victims are    not
9
     protected– they are shamed, dismissed, and subjected to retaliation. Witnesses are
10

11   not required to participate in investigations. This culture thrives despite both

12   knowledge and media coverage of the high numbers of reports of sexual misconduct
13
     at OHSU. OHSU’s self-described national expert and advocate against sexual
14
     misconduct appeared flummoxed after receiving reports of sexual misconduct, but
15

16   she chose not to report them.
17
                                                  44.
18
           Rather than take action to stop sexual misconduct, OHSU’s Title IX and
19

20
     AAEO leadership team merely offer “awareness campaigns” and trainings while

21   failing to hold perpetrators, or their enablers, accountable. In fact, they negligently
22
     disregard their own AAEO and Title IX policies and procedures, with no
23
     accountability.
24

25

26

27

28




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1

2                                                    45.
3
             OHSU’s permissive behavior perpetuates high numbers of sexual assaults on
4
     and around its campus, including assaults committed by its own employees. OHSU
5

6    deliberately and negligently has shown indifference to sexual misconduct including

7    the following:
8
                                                     46.
9
             In March of 2017, OHSU conducted a faculty survey which revealed to its
10

11   leaders that it had serious problems with sexual misconduct, but OHSU has not

12   taken meaningful action to stop the misconduct. Promises to do so came from the
13
     top.1
14
                                                     47.
15

16           Vice President, Mr. Moawad, said: “Aggressive action is being taken to deal
17
     with harassment and discrimination that resulted from ethnic, racial and gender
18
     incidents.” In 2020, Ms. Stadum stated that she was unaware of any action taken by
19

20
     Mr. Moawad, and that her office was not asked to take any action. Ms. Stadum also

21   stated that OHSU did not reach out to those who reported discrimination.
22

23

24

25

26

27

28
     1https://www.thelundreport.org/content/ohsu-faculty-share-concerns-about-discrimination-
     harassment-distrust-administration-feel



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1

2                                                       48.
3
               Executive Vice Provost, Mr. David Robinson, PhD, stated: “We do have
4
     harassment and discrimination going on, and it’s something we need to deal with; in
5

6    the future I want those numbers to be zero.” Mr. Robinson also said:“We have no

7    tolerance for discrimination, and intend to take a deep dive to come up with
8
     initiatives to address these problems.”
9
                                                        49.
10

11             In February of 2019, OHSU’s researchers published a study that found female

12   surgeons were subject to gender discrimination while performing procedures.2
13

14
                                                        50.
15

16             On March 11, 2019, OHSU promoted Dr. Kenneth Azarow to Chair of the
17
     Department of Surgery, despite his admission to engaging in sex discrimination in
18
     wages, and despite being sued for sex discrimination and retaliation against a female
19

20
     employee.

21                                                      51.
22
               On March 11, 2019, OHSU’s second-in-command, Dr. Sharon Anderson, who
23
     is paid over $980,000 per year, has worked for OHSU for nearly 30 years, and
24

25   oversees nearly 2,500 faculty representing 19 clinical departments, seven basic

26   science departments, and multiple research centers, responded to a question in front
27
     of surgeons and residents about how to handle a sex harassment complaint.
28


     2   https://www.sciencedirect.com/science/article/abs/pii/S0002961018305294

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1

2                                              52.
3
           Her flippant response is revealing: “Stuff happens all the time … and leaders
4
     hear about stuff … and some of it – not necessarily harassment or discrimination
5

6    but just sort of um uh possibly inappropriate things you hear about … if it’s

7    somebody that you know is not a ‘chronic offender’ you can sort of sit down and have
8
     a heart to heart talk and say ‘cut it out’ um but Ken [Azarow] remembers the training
9
     better than I do.” Dr. Anderson’s response shows just how indifferent OHSU is to
10

11   sexual misconduct.

12                                             53.
13
           Dr. Anderson’s comments are on video and were made part of a federal court
14
     Title IX and sex discrimination complaint against OHSU’s leadership team.
15

16                                             54.
17
           In September of 2019, OHSU’s leadership team published a study showing
18
     sex discrimination in compensation.
19

20
                                               55.

21         In 2019, OHSU conducted a survey of its staff and students which focused on
22
     sexual harassment and discrimination. 5,300 people responded to the poll. The
23
     results, issued in January of 2020, indicated a high prevalence of sexual misconduct.
24

25   According to a media report, 26% of respondents said they had been the victim of

26   sexual misconduct within the last three months, while 22% said it had happened a
27
     year or two prior to the study.
28




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1

2                                               56.
3
           “One-third of staff and students who responded said they’d experienced sexual
4
     misconduct in the last five years; 34% said discrimination was somewhat, very or
5

6    extremely problematic at OHSU; 20% said they’d witnessed discrimination within

7    the past year; 15% said they’d personally been discriminated against in the past 12
8
     months; and nearly 60% said they feared they would be retaliated against for
9
     reporting a problem.” OHSU refused interviews and issued a press release indicating
10

11   its core values included diversity and inclusion.

12                                              57.
13
           OHSU does not conduct exit interviews of employees who resign even though
14
     they would help inform OHSU of sexual misconduct in its workplace.
15

16                                              58.
17
           OHSU’s employees are not required to participate in investigations into
18
     sexual misconduct. OHSU does not investigate violations of law.
19

20
                                                59.

21         Several sexual misconduct complaints have been filed against OHSU, and
22
     OHSU routinely and negligently denies the allegations and infers that the women
23
     are making false claims.
24

25

26

27

28




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1

2                                               60.
3
              Title IX Policies Are Routinely Violated By OHSU Leaders
4
           OHSU’s AAEO Title IX policy includes: “Who must report: mandatory
5

6    reporters. OHSU requires all supervisors, managers, department heads, faculty

7    members, executives and administrators who receive a report of discrimination,
8
     harassment or retaliation — including sexual misconduct, sexual assault, stalking,
9
     domestic violence and interpersonal violence — to promptly notify AAEO, the Title
10

11   IX Coordinator, or their HR Business Partner. If you are unsure whether you need

12   to report a concern, call AAEO.”
13

14
                                                61.
15

16         OHSU’s AAEO Title IX policy further provides: “Do not wait for someone to
17
     complain if you know or suspect sexual misconduct is occurring or has occurred; Do
18
     not attempt to investigate or resolve the situation on your own; Individuals who are
19

20
     asked to participate in an investigation are required to fully cooperate.”

21                                              62.
22
           OHSU faculty and leaders display deliberate indifference to Title IX and allow
23
     sexual misconduct to thrive.
24

25

26

27

28




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1

2                                                       63.
3
                 OHSU’s national expert on reporting sexual harassment:
4                             “It’s never worth it. Never.”

5            Dr. Esther Choo is OHSU Professor of Emergency Medicine and founder of
6
     the national Times Up Healthcare. 3 Dr. Choo traveled to New York City in January
7
     of 2019 to kick off and promote Times Up Healthcare. She also recruited OHSU’s
8

9    Ms. Stadum to become a founder. Times Up Healthcare and Dr. Choo have received
10
     significant media and professional attention, and both claim to address sexual
11
     misconduct and discrimination in the workplace. “We insist upon a world where
12

13
     everyone is safe and respected at work. A world where women have an equal shot at

14   success and security. A world where no one lives in fear of sexual harassment or
15
     assault.”
16
                                                        64.
17

18           OHSU touts Dr. Choo as an expert in sexual harassment and gender equity

19   in the medical workplace. She is a national speaker on the subject. Dr. Choo has over
20
     185,000 Twitter followers.4
21
                                                        65.
22

23           On or about March 31, 2020, plaintiff reported to Dr. Choo, in writing, the

24   details and screenshot evidence of Dr. Campbell’s sexual harassment and assault on
25
     plaintiff. Dr. Choo responded via text, “Ugh, I’m giving him feedback.”
26

27
     3 “By helping change culture, companies, and laws, TIME’S UP Now aims to create a society free of
28   gender-based discrimination in the workplace and beyond. We want every person — across race,
     ethnicity, religion, sexuality, gender identity, and income level — to be safe on the job and have equal
     opportunity for economic success and security.” https://timesupnow.org/about/
     4 https://twitter.com/choo_ek



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1

2                                              66.
3
           On April 9, 2020, plaintiff reported to Dr. Choo, in writing along with
4
     screenshot evidence, that Dr. Campbell had also sexually harassed and sexually
5

6    assaulted an OHSU employee, but that the victim feared reporting it. On April 10,

7    2020, Dr. Choo messaged plaintiff, “It’s never worth it. Never.” Her text was in
8
     regards to reporting sexual harassment. Plaintiff then gave Dr. Choo screenshot
9
     evidence that an OHSU Assistant Professor had received two reports of sexual
10

11   misconduct by Dr. Campbell. Dr. Choo responded, “OMG How should we handle.”

12   Dr. Choo is a mandatory reporter. Title IX policy requires a prompt report to AAEO
13
     Ms. Stadum – Dr. Choo’s TimesUp co-founder.
14
                                               67.
15

16         Dr. Choo then offered to “sit down with” Dr. Campbell or have his program
17
     director do it. This response follows Dr. Sharon Anderson’s direction to sit down with
18
     sexual harassers and tell them to “cut it out.” OHSU’s Title IX policy states, “Do not
19

20
     attempt to resolve the situation on your own.” On information and belief, Dr. Choo

21   did not report that Dr. Campbell had allegedly sexually harassed and sexually
22
     assaulted two women.
23

24

25

26

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28




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1

2                                             68.
3
           Two months later, on June 5, 2020, Dr. Choo posed for a photo with Dr.
4
     Campbell during a protest. Dr. Campbell posted it on Twitter and tagged Dr. Choo.
5

6    On June 12, 2020, Dr. Campbell challenged Dr. Choo to help him get over 50,000

7    views of one of his videos. In October 1, 2020, Dr. Choo publicly engaged Dr.
8
     Campbell in a Twitter fundraiser. Specifically, she tagged him as her friend with a
9
     big following and big heart.
10

11

12

13

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22
                                              69.
23
           When plaintiff objected to what she perceived as Dr. Choo condoning sexual
24

25   misconduct, Dr. Choo responded: “You never told me about assault of you.” This is

26   not true. Plaintiff told Dr. Choo that she and another woman had been sexually
27
     assaulted by Dr. Campbell. Dr. Choo also said: “I don’t need policing by White
28
     women.”



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14
                                               70.
15

16       OHSU Residency Director Appears to Condone Sexual Misconduct
17
           Dr. Lalena Yarris works alongside Dr. Choo as a Professor of Emergency
18
     Medicine. Dr. Yarris is also the Residency Program Director. In this role, she is in
19

20
     charge of legal compliance and ensuring that medical students have a safe learning

21   environment. In late March of 2020, Dr. Yarris had been in a Tik Tok dance video
22
     with Dr. Campbell. With safety considerations in mind, on March 31, 2020, plaintiff
23
     reported to Dr. Yarris, in writing, evidence of Dr. Campbell’s sexual misconduct. Dr.
24

25   Yarris is a mandatory reporter and in charge of student safety. On information and

26   belief, Dr. Yarris never took action on the evidence or the reports that Dr. Campbell
27
     had sexually harassed and sexually assaulted two women.
28




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1

2                                              71.
3
           On November 3, 2020, Dr. Yarris starred in another Tik Tok video with Dr.
4
     Campbell in which they dance together about voting in the Presidential election and
5

6    Dr. Yarris pretends to reel Dr. Campbell in with an imaginary fishing pole. When

7    plaintiff objected to Dr. Yarris’s condoning of sexual misconduct, she replied, “I
8
     believe you and your experience and I also have to rely on my own experience in
9
     deciding how to interact with him…” Dr. Campbell’s other alleged victim saw the
10

11   video and said it was“disrespectful and insane the ED residency director knows and

12   is hanging out with him.”
13
                                               72.
14
      At Least 13 OHSU Employees Received Reports of Dr. Campbell’s Sexual
15
                    Misconduct – Six are in Leadership Roles.
16
              Most Took No Action or Otherwise Violated Title IX Rules.
17

18         On April 9, 2020, plaintiff reported details of the sexual harassment and

19   assault to her supervisors, and the VA Hospital’s Equal Employment Opportunity
20
     Director. Plaintiff also provided screenshots of the sexual messages Dr. Campbell
21
     had sent to her. That same day, the VA Hospital notified Dr. Campbell and his
22

23   supervisor, Dr. Stephen Robinson, the Chair of OHSU’s Department of

24   Anesthesiology, of plaintiff’s complaint. Dr. Robinson is a mandatory reporter. On
25
     information and belief, Dr. Robinson took no action on plaintiff’s complaint that Dr.
26
     Campbell had sexually harassed and sexually assaulted her, and Dr. Robinson was
27

28   not even interviewed by OHSU investigators.




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2                                              73.
3
           On April 17, 2020, plaintiff reported, in writing, details of the sexual
4
     harassment and assault directly to OHSU’s Title IX coordinator Ms. Stadum, and to
5

6    VA Hospital Police Detective Paul Carlson.

7                                              74.
8
           On April 17, 2020, plaintiff texted two OHSU Public Safety officers that they
9
     would be contacted by the VA police because she had been harassed by Dr. Campbell.
10

11   OHSU Public Safety officers did not participate in any investigation or take safety

12   measures.
13
                                               75.
14
                 Title IX Coordinator Violates OHSU’s Title IX Policy
15

16         On April 23, 2020, plaintiff had a phone meeting with OHSU’s Title IX
17
     coordinator, Ms. Stadum, and Detective Carlson, about steps moving forward in
18
     working with her AAEO department. Ms. Stadum informed plaintiff that she had
19

20
     just recently informed Dr. Campbell of plaintiff’s allegations of sexual misconduct,

21   and that Dr. Campbell said: “This is the first I’m hearing of it.” Plaintiff informed
22
     Ms. Stadum that VA personnel had already notified Dr. Campbell and his supervisor
23
     on April 9, 2020. Ms. Stadum asked plaintiff, “Who is Dr. Campbell’s supervisor?”
24

25   OHSU’s Title IX policy states: “Upon notice of a complaint, AAEO will inform HR

26   and the supervisor of the respondent that AAEO will investigate. Apparently, AAEO
27
     Director/Title IX Coordinator Ms. Stadum did not follow OHSU’s policy and did not
28
     “inform the supervisor of the respondent.”



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2                                                76.
3
           During this same meeting, plaintiff informed Ms. Stadum that another OHSU
4
     employee claimed to have been sexually assaulted by Dr. Campbell, and read aloud
5

6    from screenshots the details of the assault. Plaintiff also informed Ms. Stadum that

7    the other victim said she was traumatized, feared retaliation by OHSU, and was
8
     afraid of Dr. Campbell. Ms. Stadum responded: “Do you have permission to share
9
     this assault?” Plaintiff replied that she did.
10

11                                               77.

12         Detective Carlson told Ms. Stadum and plaintiff that he had reached out to
13
     OHSU Public Safety Department but that they declined to participate in any
14
     interviews of Dr. Campbell because the assault occurred on federal property. Dr.
15

16   Campbell later lawyered up and refused to be interviewed by Detective Carlson.
17
                                                 78.
18
           Ms. Stadum also apologized to plaintiff for the handling of plaintiff’s prior
19

20
     complaint of sexual harassment against OHSU’s Chair of Emergency Medicine, Dr.

21   John Ma. Ms. Stadum assured her that the investigator in that matter, an attorney,
22
     was no longer with OHSU. Ms. Stadum promised the investigation into Dr. Campbell
23
     would be better. Without putting any safety measures into place, Ms. Stadum
24

25   handed the complaint off to a new OHSU employee, an immigration attorney, for

26   investigation.
27

28




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2                                               79.
3
                  Title IX Investigator’s Retaliatory Behavior Causes
4                             Further Trauma to Plaintiff

5          OHSU’s Title IX policy does not require victims to protect themselves from
6
     harm or retaliation. It states: “AAEO has discretion to take steps to ensure the safety
7
     and well-being of the parties involved and the OHSU community before and during
8

9    an investigation.” On April 29, 2020, OHSU’s attorney and investigator admitted
10
     that they had not put any safety measures in place to protect plaintiff or other
11
     women from another assault or retaliation. The investigator stated: “Do you want
12

13
     me to call campus safety for you?” OHSU’s in-house employment attorney Emily

14   Shults said: “We don’t take safety measures unless there is a crime.” Plaintiff
15
     specifically requested a no-contact order, but both the investigator and Greg Moawad
16
     refused, stating it “would not be appropriate.” Plaintiff was terrified, and OHSU’s
17

18   behavior compounded her fear. Regardless, plaintiff cooperated fully in the

19   investigation.
20
                                                80.
21
           Despite Ms. Stadum’s apology and assurances, OHSU’s investigator
22

23   repeatedly said she had no knowledge of plaintiff’s experience in filing a sexual

24   harassment complaint with OHSU against Dr. Ma, or of the problems in the prior
25
     investigation. What followed was more victim shaming, fumbling, blaming, and
26
     misconduct by OHSU’s investigator.
27

28




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1

2                                              81.
3
           At least three times, OHSU’s investigator described the sexual assault as a
4
     “hug” from behind, and repeatedly asked plaintiff why she failed to report the assault
5

6    sooner. Plaintiff repeatedly objected to describing the assault as a “hug,” and

7    explained that asking a victim “why did you wait?” is a victim-shaming question that
8
     should not be asked. Plaintiff also informed the investigator that reporting sexual
9
     harassment to OHSU regarding Dr. Ma was “one of the worst experiences of my life.”
10

11   Plaintiff told the investigator that Dr. Ma violated a police no-contact order and

12   OHSU did nothing. Plaintiff’s son had been threatened by Dr. Ma’s wife, an OHSU
13
     nurse, and OHSU did nothing. Plaintiff said OHSU’s handling of sexual misconduct
14
     was a “nightmare” and she was scared to provide a report. Plaintiff explained that
15

16   she ultimately decided to report because Dr. Campbell had assaulted another OHSU
17
     employee and she felt she had a duty to act.
18
                                               82.
19

20
                   Retaliation Reported to OHSU’s General Counsel
                            and Vice President Mr. Moawad
21
           On April 30, 2020, plaintiff served OHSU, care of its general counsel, Alice
22

23   Cuprill-Dumas, with a tort claims notice under ORS 30.275. The notice described

24   the history of sexual misconduct permitted by OHSU, the sexual harassment and
25
     assault of plaintiff by Dr. Campbell, and detailed the harassing, retaliatory behavior
26
     by OHSU’s employees. Ms. Cuprill-Dumas is a mandatory reporter.
27

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2                                               83.
3
           Given the retaliatory behavior by OHSU’s employees, and lack of safety
4
     measures, on May 1, 2020, plaintiff reported, in writing, to OHSU Vice President
5

6    Mr. Moawad, that Dr. Campbell had sexually assaulted an OHSU employee and

7    plaintiff in a very similar manner. Plaintiff reported the retaliation by his staff, and
8
     that his staff had taken no action to ensure plaintiff’s safety. At this point, 13 OHSU
9
     employees had been notified of the sexual misconduct. Mr. Moawad informed
10

11   plaintiff that for her safety concerns, Dr. Campbell was working off campus on a

12   research project and was told not to contact her.
13
                                                84.
14
                   OHSU’s Investigator Attacks Plaintiff’s Character
15

16         On June 30, 2020, OHSU issued its “preliminary findings report” that again
17
     stated plaintiff reported a “hug from behind,” and found that plaintiff made a “false
18
     statement” during her interview, and destroyed evidence. None of these things are
19

20
     true. The investigator used these findings to conclude plaintiff had credibility issues.

21   Plaintiff had to extensively disprove these findings by re-providing evidence, proving
22
     that she had not made a false statement, and proving she did not destroy evidence.
23

24

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2                                               85.
3
           In fact, the investigator was responsible in that she (a) failed to ask questions
4
     she later deemed relevant to the investigation or credibility; (b) learned new
5

6    information but failed to follow up with plaintiff regarding that information; (c)

7    missed that plaintiff already reported the information; (d) concluded evidence was
8
     destroyed when it was not; (e) made a mistake in the timeline and in her own
9
     questioning of plaintiff; (f) repeatedly claimed plaintiff reported a “hug” when she
10

11   had not; (g) concluded plaintiff had credibility problems because she did not

12   immediately produce a tangential text (that was later produced), but that Dr.
13
     Campbell’s failure to produce ANY evidence did not negatively impact his credibility
14
     (“Because Campbell has no affirmative obligation to produce messages from his
15

16   personal phone and/or social media accounts, no adverse inference is taken from
17
     Campbell’s failure to produce messages for AAEO to consider.”)
18
                                                86.
19

20
           This pattern of retaliatory treatment further compounded plaintiff’s

21   emotional distress.
22
                                                87.
23
           On July 8, 2020, OHSU’s investigator stated, “Per your request, the word
24

25   “hugged” will be removed from the first paragraph of the preliminary findings.”

26

27

28




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2                                               88.
3
           On August 17, 2020, OHSU issued its investigative findings. The investigator
4
     concluded that Dr. Campbell had violated its policies and code of conduct by
5

6    repeatedly sending electronic messages of a sexual nature to plaintiff, including but

7    not limited to a picture of his erection through scrub pants, despite multiple
8
     warnings from plaintiff that she was not interested in any sort of romantic or sexual
9
     relationship; and approaching plaintiff from behind in her office at the VA Medical
10

11   Center and pressing his front side against her backside without express or implied

12   consent. Notably, OHSU’s investigator failed to address any violations of law, failed
13
     to even interview the other alleged victim, and failed to interview Dr. Campbell’s
14
     supervisor, Dr. Robinson.
15

16                                              89.
17
                   OHSU Offers, then Denies Mental Health Therapy
18
           OHSU’s “supportive measures” for sexual assault victims are also
19

20
     traumatizing. At the repeated suggestions of Ms. Stadum and the investigator,

21   plaintiff requested that OHSU cover the cost of mental health therapy that she
22
     needed as a result of OHSU’s behavior. On September 9, 2020, OHSU agreed to pay
23
     approximately $6,000 directly to plaintiff’s health care provider.
24

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2                                               90.
3
           On September 30, 2020, OHSU informed plaintiff’s healthcare provider that
4
     it would not pay for her mental health therapy because OHSU’s sexual misconduct
5

6    fund had run out of money. OHSU’s employee Ms. Shults later stated OHSU would

7    pay for medical treatment on the condition that plaintiff sign a full release of claims.
8
     This retaliatory behavior further added to plaintiff’s emotional distress.
9
                                                91.
10

11         On November 8, 2020, plaintiff’s car was vandalized with spray paint at her

12   home. Plaintiff informed OHSU and it does not appear OHSU took any meaningful
13
     action in response.
14
                                                92.
15

16                 OHSU’s History and Pattern of Sexual Misconduct
                          and Retaliation Against Plaintiff
17

18         From June of 2017 to October of 2018, plaintiff was sexually harassed and

19   stalked by former OHSU Emergency Medicine Chair Dr. Ma. Plaintiff was also
20
     harassed and stalked by Dr. Ma’s wife, an OHSU nurse who also made threats to
21
     plaintiff’s minor child. Plaintiff reported the misconduct to OHSU, but it was not
22

23   investigated. Despite written and in-person threats from Dr. Ma’s wife, OHSU took

24   no action. Dr. Ma’s harassment of plaintiff was so fierce, that at one point, OHSU
25
     put a “no contact order” in place, which Dr. Ma promptly violated by contacting
26
     plaintiff. When plaintiff told him not to contact her, he said he wanted to die.
27

28   Plaintiff reported the information continued harassment to OHSU’s Public Safety.




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2                                              93.
3
           Plaintiff also informed the OHSU psychiatrist who had been treating Dr. Ma.
4
     An OHSU Public Safety officer responded to plaintiff by stating that he, the officer,
5

6    was instructed not to communicate with plaintiff. Another officer informed plaintiff

7    that Dr. Ma’s friend and colleague Dr. Michael Bonazzola had stepped into the
8
     situation and assured Public Safety that “everything is ok.” Dr. Bonazzola is a
9
     mandatory reporter. Dr. Esther Choo stated that Dr. Bonazzola’s interference was
10

11   intended to “scare people,” as he had no legitimate reason to be involved. OHSU’s

12   interactions with plaintiff during this time period primed plaintiff’s emotional
13
     response to the sexual assault by Dr. Campbell.
14
                                               94.
15

16         One year after plaintiff complained, approximately fifty more complaints of
17
     sexual discrimination, harassment, and retaliation were filed against Dr. Ma. OHSU
18
     opened an investigation that was conducted by OHSU’s employee, Ms. Stadum, and
19

20
     an OHSU attorney. These investigators did not inform or interview plaintiff until

21   she found out about the investigation and asked to be interviewed. Investigators
22
     claimed they had no knowledge of anything to do with plaintiff’s prior complaint.
23
     They made this claim despite the fact that OHSU Human Resources Director for the
24

25   School of Medicine, Linda Strahm, had banned Dr. Ma from entering his own

26   Emergency Department while plaintiff was still working at OHSU. Plaintiff resigned
27
     from OHSU and went to work at the VA Hospital where the stalking, harassment
28
     and retaliation continued.



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2                                                       95.
3
               Flouting best practices, OHSU allowed Dr. Ma to remain in his leadership
4
     position and in the workplace during the investigation. The investigators, OHSU
5

6    employee, Ms. Stadum and an OHSU attorney, engaged in victim shaming, ignored

7    evidence and failed to follow up on evidence. Investigators blamed plaintiff for not
8
     blocking Dr. Ma even though Dr. Ma stated he was suicidal when plaintiff asked him
9
     to not contact her, and Dr. Ma had previously warned plaintiff that his wife was on
10

11   her way to plaintiff’s home after threating plaintiff and her young child.

12                                                      96.
13
               Dr. Sharon Anderson informed complainants that their complaints were
14
     unsubstantiated and they needed to move on.
15

16                                                      97.
17
               On March 3, 2019, OHSU employee Ms. Stadum and an OHSU attorney
18
     informed plaintiff that her complaints were unsubstantiated, and that she had
19

20
     welcomed Dr. Ma’s conduct.

21                                                      98.
22
               After much media attention, and an exodus by physicians in his department,
23
     Dr. Ma announced his resignation. Dr. Ma was given a party by OHSU and OHSU
24

25   issued a statement lauding Dr. Ma’s accomplishments. Praise and gratitude came

26   directly from Dr. Sharon Anderson.5
27

28


     5   https://blogs.ohsu.edu/96kmiles/2019/05/13/leadership-transition-in-emergency-medicine/

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2                                            99.
3
                       OHSU continues to Glorify Dr. Campbell
4
           On November 3, 2020, only after plaintiff requested an update, OHSU’s
5

6    investigator told plaintiff that Dr. Campbell was no longer employed by OHSU.

7    However, his alleged departure, and OHSU’s finding of sexual misconduct did not
8
     stop the praise and featuring of Dr. Campbell by OHSU. For example, on November
9
     25, 2020, OHSU’s Anesthesiology Department praised its resident Dr. Campbell on
10

11   Twitter for co-authoring a publication. On January 21, 2021, Dr. Campbell was on

12   national television for attending the Presidential Inauguration parade. OHSU
13
     accepted the showering of media praise and attention for its resident. OHSU still
14
     has photos of Dr. Campbell on its Instagram and social media accounts. As of
15

16   January 29, 2021, OHSU’s website features Dr. Campbell as its current resident,
17
     and Dr. Campbell’s blog states that he is an Anesthesiology resident in Portland,
18
     Oregon where there is only one teaching hospital – OHSU.
19

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2                                           100.
3
                                   CAUSES OF ACTION
4
              Claim 1 – Sexual Assault against Dr. Campbell and OHSU
5

6          As alleged in this complaint, Dr. Campbell intended to and attempted to cause

7    harmful offensive sexual contact with plaintiff and he had the ability to carry such
8
     intention into effect, causing plaintiff severe, substantial, enduring emotional
9
     distress, discomfort, and interference with usual life activities. At all times Dr.
10

11   Campbell’s treatment of plaintiff as alleged in this complaint was in his capacity as

12   a resident and employee of OHSU and within the scope and course of his employment
13
     at OHSU and OHSU is directly, jointly, and vicariously liable for the acts and
14
     omissions of Dr. Campbell as alleged in this complaint. As a result, plaintiff is
15

16   entitled to a money judgment against Dr. Campbell and OHSU in an amount to be
17
     determined by the jury to be fair and reasonable, not to exceed $4.5 million, and
18
     punitive damages against Dr. Campbell not to exceed $40.5 million, and reimbursed
19

20
     attorney fees, costs, and disbursements. Plaintiff reserves the right to amend this

21   complaint to adjust the claims for compensation and damages and to add claims and
22
     additional defendants, including claims for punitive damages.
23

24

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2                                            101.
3
                   Claim 2 – Battery against Dr. Campbell and OHSU
4
           As alleged in this complaint, Dr. Campbell intended to and did in fact cause
5

6    harmful offensive sexual contact with plaintiff, causing plaintiff severe, substantial,

7    enduring emotional distress, discomfort, and interference with usual life activities.
8
     At all times Dr. Campbell’s treatment of plaintiff as alleged in this complaint was in
9
     his capacity as a resident and employee of OHSU and within the scope and course of
10

11   his employment at OHSU and OHSU is directly, jointly, and vicariously liable for

12   the acts and omissions of Dr. Campbell as alleged in this complaint. As a result,
13
     plaintiff is entitled to a money judgment against Dr. Campbell and OHSU in an
14
     amount to be determined by the jury to be fair and reasonable, not to exceed $4.5
15

16   million, and punitive damages against Dr. Campbell not to exceed $40.5 million, and
17
     reimbursed attorney fees, costs, and disbursements. Plaintiff reserves the right to
18
     amend this complaint to adjust the claims for compensation and damages and to add
19

20
     claims and additional defendants, including claims for punitive damages.

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2                                            102.
3
                    Claim 3 – IIED against Dr. Campbell and OHSU
4
           As alleged in this complaint, Dr. Campbell’s treatment of plaintiff constituted
5

6    extraordinary transgressions of the bounds of socially tolerable behavior, and was

7    intended by Dr. Campbell to inflict severe emotional distress on plaintiff, and did in
8
     fact cause plaintiff severe, substantial, enduring emotional distress, discomfort, and
9
     interference with usual life activities. At all times Dr. Campbell’s treatment of
10

11   plaintiff as alleged in this complaint was in his capacity as a resident and employee

12   of OHSU and within the scope and course of his employment at OHSU and OHSU
13
     is directly, jointly, and vicariously liable for the acts and omissions of Dr. Campbell
14
     as alleged in this complaint. As a result, plaintiff is entitled to a money judgment
15

16   against Dr. Campbell and OHSU in an amount to be determined by the jury to be
17
     fair and reasonable, not to exceed $4.5 million, and punitive damages against Dr.
18
     Campbell not to exceed $40.5 million, and reimbursed attorney fees, costs, and
19

20
     disbursements. Plaintiff reserves the right to amend this complaint to adjust the

21   claims for compensation and damages and to add claims and additional defendants,
22
     including claims for punitive damages.
23

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1

2                                            103.
3
            Claim 4 – Invasion of Privacy against Dr. Campbell and OHSU
4
           As alleged in this complaint, Dr. Campbell’s treatment of plaintiff was an
5

6    intentional intrusion into plaintiff’s solitude or seclusion or private affairs or

7    concerns which would be highly offensive to a reasonable person, and caused plaintiff
8
     severe, substantial, enduring emotional distress, discomfort, and interference with
9
     usual life activities. At all times Dr. Campbell’s treatment of plaintiff as alleged in
10

11   this complaint was in his capacity as a resident and employee of OHSU and within

12   the scope and course of his employment at OHSU and OHSU is directly, jointly, and
13
     vicariously liable for the acts and omissions of Dr. Campbell as alleged in this
14
     complaint. As a result, plaintiff is entitled to a money judgment against Dr.
15

16   Campbell and OHSU in an amount to be determined by the jury to be fair and
17
     reasonable, not to exceed $4.5 million, and punitive damages against Dr. Campbell
18
     not to exceed $40.5 million, and reimbursed attorney fees, costs, and disbursements.
19

20
     Plaintiff reserves the right to amend this complaint to adjust the claims for

21   compensation and damages and to add claims and additional defendants, including
22
     claims for punitive damages.
23

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2                                             104.
3
                       Claim 5 – Negligence against All Defendants
4
           As alleged in this complaint, defendants were negligent in failing to exercise
5

6    reasonable care during their interactions with plaintiff. Defendants had a duty to

7    maintain OHSU premises in a safe condition for women invited to the premises like
8
     plaintiff. Plaintiff was harmed by the negligent treatment by defendants as alleged
9
     in this complaint, and plaintiff’s harm was due to the acts and omissions of
10

11   defendants, who were negligent in failing to act as reasonably prudent people.

12   Defendants owed plaintiff special legal duties and defendants’ negligent acts and
13
     omissions as alleged in this complaint caused plaintiff severe, substantial, enduring
14
     emotional distress, discomfort, and interference with usual life activities, all of which
15

16   were reasonably foreseeable. At all times Dr. Campbell’s treatment of plaintiff as
17
     alleged in this complaint was in his capacity as a resident and employee of OHSU
18
     and within the scope and course of his employment at OHSU and OHSU is directly,
19

20
     jointly, and vicariously liable for the acts and omissions of Dr. Campbell as alleged

21   in this complaint. As a result, plaintiff is entitled to a money judgment against
22
     defendants in an amount to be determined by the jury to be fair and reasonable, not
23
     to exceed $4.5 million, and reimbursed attorney fees, costs, and disbursements.
24

25   Plaintiff also seeks an injunction prohibiting OHSU from continuing to operate its

26   hospital in the unsafe manner described in this complaint, and an order requiring
27
     OHSU to finally adopt adequate safety procedures and policies to ensure that no
28
     other women are needlessly exposed to sexual harassment on its premises.



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1

2                                            105.
3
                                   PRAYER FOR RELIEF
4
           Plaintiff respectfully requests judgment against defendants for the relief
5

6    sought in this complaint, including maximum interest, and any other relief the Court

7    may deem necessary. Plaintiff reserves the right to amend this complaint to adjust
8
     the claims for compensation and damages and to add and remove claims and
9
     defendants as information is learned in discovery.
10

11                                           106.

12                                JURY TRIAL DEMAND
13
           Plaintiff respectfully requests a trial by a jury.
14

15

16   DATED: February 26, 2021
17

18                                           RESPECTFULLY FILED,

19                                           /s/ Michael Fuller
20
                                             Michael Fuller, OSB No. 09357
                                             Lead Trial Attorney for Plaintiff
21                                           OlsenDaines
                                             US Bancorp Tower
22
                                             111 SW 5th Ave., Suite 3150
23                                           Portland, Oregon 97204
                                             michael@underdoglawyer.com
24                                           Direct 503-222-2000
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